      Case 18-03401-jw             Doc 27       Filed 03/20/19 Entered 03/20/19 15:14:44                      Desc Main
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                                                United States Bankruptcy Court
                                                   District of South Carolina


Case Number: 18−03401−jw                                          Chapter: 13

In re:
 David Joseph Howard                                              Jessica Mills Howard
 aka David J Howard                                               aka Jessica M Howard, aka Jessica Lynn Howard, aka
                                                                  Jessica L Howard

                                                  ORDER DISMISSING CASE


This matter comes before the Court on a Petition to Dismiss the above−captioned Chapter 13 case. Following notice and an
opportunity for a hearing or a hearing having been held:

  X   P−I.    The relief sought is granted and the case is hereby dismissed.

      P−II.   The relief sought is denied.

      P−III. The relief sought is denied based upon an agreement between the trustee and the debtor(s) and/or
             the attorney for the debtor(s), whereby this case may be dismissed upon request of the trustee,
             without further notice or hearing, if the debtor(s) fail(s) to comply with the terms of this agreement. If
             this matter arose because of the debtor(s) failure to make payments to the trustee, the case may also
             be dismissed upon request of the trustee, without further notice or hearing, if the debtor(s) fail(s) to
             make future payments, as they become due.

      P−IV. The relief sought is granted and the case is hereby dismissed with prejudice based upon a previous
            Order directing that any dismissal of this case would be with prejudice. The debtor(s) is/are hereby
            directed not to file a Petition under Chapter 13 for a period of one−hundred eighty (180) days from the
            entry of this Order.



AND IT IS SO ORDERED.




          FILED BY THE COURT
              03/20/2019




                                                                       US Bankruptcy Judge ©
                                                                       District of South Carolina



              Entered: 03/20/2019
